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                  Case 4:04-cr-00291-BSM                            Document 962
               (Rev. 12/07) Judgment in a Criminal Case for Revocations
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                                                                                                                                                  EASTE~N trl~TRICT ARKANSAS
               Sheet 1
                                                                                                                                                                  JAN 2 42012
                                      UNITED STATES DISTRICT COU~~~~
                                                EASTERN DISTRICT OF ARKANSAS By.                                                                                                o P LERK

          UNITED STATES OF AMERICA                                                        Judgment in a Criminal Case
                               v.                                                         (For Revocation of Probation or Supervised Release)


               HARRY TYRONE BAKER                                                         Case No.                     4:04CR00291-02 JLH
                                                                                          USMNo.                       23557-009
                                                                                                                                          John Ogles
                                                                                                                                   Defendant's Attorney
THE DEFENDANT:
X   admitted guilt to violation of condition(s)            -'G"'e"-"n"-=ec:..:ra"'-1'-',2""'' -'S.,..p:.:ec.:.cl"'·a::...l_ _ _ _ _ of the term of supervision.
D   was found in violation of condition(s) count(s) - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number               Nature of Violation                                                                                                      Violation Ended
General                        Unlawful use of a controlled substance                                                                                   November 28, 2011
2                              Failure to submit monthly reports as directed by probation officer                                                       September, 2011
Special                        Failure to participate in substance abuse treatment program as directed by                                               October 31, 2011
                               probation officer



       The defendant is sentenced as provided in pages 2 through                         _ _:::.2__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s)            _ _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.


          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic Circumstances.

Last Four Digits of Defendant's Soc. Sec. No.:           8355

Defendant's Year of Birth:          1964

City and State of Defendant's Residence:
                    Jacksonville, Arkansas
                                                                                                      J. LEON HOlMES, U.S. DISTRICT JUDGE
                                                                                                                                 Name and Title of Judge

                                                                                                                                    January 24, 2012
                                                                                                                                                 Date
                 Case 4:04-cr-00291-BSM                      Document 962          Filed 01/24/12     Page 2 of 2
AO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
           Sheet 2- Imprisonment

                                                                                              Judgment- Page _.:.2_ of          2
DEFENDANT:                  HARRY TYRONE BAKER
CASE NUMBER:                4:04CR00291-02 JLH


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of :

                            21 MONTHS with no term of supervised release to follow


   X    The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends defendant participate in residential substance abuse treatment during
        incarceration. The Court further recommends placement in the FCI Forrest City, Arkansas, facility
        so as to remain near his family.

   X The defendant is remanded to the custody of the United States Marshal.

   0   The defendant shall surrender to the United States Marshal for this district:
       0    at  - - - - - - - - - 0 a.m.                       0      p.m.    on
       0    as notified by the United States Marshal.

   0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       0    before 2 p.m. on
       0    as notified by the United States Marshal.
       0    as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

I have executed this judgment as follows:




       Defendant delivered on                                                        to

at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL



                                                                             By ------------------------------------
                                                                                       DEPUTY UNITED STATES MARSHAL
